      Case 3:13-cv-08075-SMM Document 20 Filed 11/15/13 Page 1 of 1



 1   WO
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Smith & Wesson Corp.,                       )   No. CV-13-8075-PCT-SMM
                                                 )
10                 Plaintiff,                    )
                                                 )
11   vs.                                         )   ORDER OF DISMISSAL
                                                 )
12   Plinker Arms, LLC,                          )
                                                 )
13                 Defendant.                    )
                                                 )
14                                               )
15          Pending before the Court is the parties’ Stipulation for Entry of Order of Dismissal
16   With Prejudice. (Doc. 19.) This action has been resolved through a settlement and patent
17   license agreement between the parties. (Id.)
18          Accordingly,
19          IT IS HEREBY ORDERED DISMISSING WITH PREJUDICE any and all
20   claims with all parties to bear their respective costs and attorney’s fees except as otherwise
21   provided for in the settlement agreement.
22          IT IS FURTHER ORDERED VACATING the status hearing set for Tuesday,
23   December 10, 2013 at 2:00 p.m.
24          DATED this 15th day of November, 2013.
25
26
27
28
